Case 2:05-cr-20010-.]DB Document 37 Filed 05/25/05 Page 1 of 2 Page|D 30

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

 

Plaintiff,
vS. No. OB-ZOOlO-B
ALBERT KIN LEE,

Defendant.

 

ORDER WAIVING APPEARANCE

 

Upon motion of the defendant, consent of the United States,
Mr. Lee'S written waiver, and for good cause Shown, it is hereby:
ORDERED, ADJUDGED AND DECREED that Aibert Kin Lee’S appearance

at the May 31, 2005 report date is hereby waived.

q`
Entered this 25 day of May, :QOB;

Da iel Breen,
Jnite States District udge

This document entered on the docket sheet In compliance f
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with ama 55 annum 32(b) mch on § Q/l_g 125 57

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Honorable J. Breen
US DISTRICT COURT

